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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

UNITED STATES CF AMERICA,

Plaintiff,
Vv. No. 92-2062-M1/A
STATE OF TENNESSEE, et al.,
Defendants.
PEOPLE FIRST OF TENNESSEE,

PARENT-GUARDIAN ASSOCIATION OF
ARLINGTON DEVELOPMENTAL CENTER,

we ee

Intervenors.

ORDER SETTING COMMENT AND/OR MOTION SCHEDULE

The Court has received and reviewed the report of the
Monitor entitled “Heightened Acuity Levels and Nurse Staffing
Issues at ADC” filed on November 8, 2000. The report has been

submitted for comment by the parties.

By this order, the Court establishes a comment and/or motion
period. The United States, People First of Tennessee, and the
Parent Guardian Association should submit their comments and/or
motions arising out of the November 8, 2000 report within 14 days

of the entry of this order.

The State of Tennessee should submit its comments, including

This document entsred on the docket sheet in compliance CT408?
with Rule 88 and/or 79(a) FRCP on Ji- | (6-00 __

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The State of Tennessee shall have 14 days from the filing of
any motions within which to respond to said motions. Any party
wishing an evidentiary hearing should so indicate on the style of
its materials submitted within the established time table.

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IT IS SO ORDERED THIS [> DAY OF November 2000.

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JON P. McCALLA
UNITED STATES DISTRICT JUDGE

Notice of Distribution

This notice confirms a copy of the document docketed as number 1408 in
case 2:92-C V-02062 was distributed by fax, mail, or direct printing on
November 16, 2000 to the parties listed.

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